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                     IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                             IN AND FOR PALM BEACH COUNTY, FLORIDA

         ALEATHER ADAMS, and JAMES                           CASE NUMBER:
         ALLEN, her Husband,

               Plaintiffs,

         vs.

         WAL-MART STORES EAST LP,

               Defendant.


                                                 COMPLAINT

               Plaintiffs, ALEATHER ADAMS and JAMES ALLEN, by and through their undersigned

        counsel, sue Defendant, WAL-MART STORES EAST LP (hereinafter "WALMART"), a Florida

        limited liability company, and alleges as follows:

                              ALLEGATIONS COMMON TO ALL COUNTS

               I.      This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00).

               2.      That at all times material hereto, Plaintiff, ALEATHER ADAMS was and is a

        resident of Palm Beach County, Florida and is otherwise sui juris.

               3.      That at all times material hereto, Plaintiff, JAMES ALLEN, was and is a resident

        of Palm Beach County, Florida and is otherwise sui juris.

               4.     That at all times material hereto, Defendant, WAL-MART STORES EAST LP, was

        and is a Florida limited liability company doing business in Palm Beach County, Florida, and

        owned, operated, managed, maintained and controlled a business WAL -MART STORES EAST

        LP #5301 located at 101 N. Congress Avenue, Lake Park, Florida 33403. (hereinafter referred to

        as the "PREMISES")

               5.     That on February 11, 2020, Plaintiff, ALEATHER ADAMS, was a business invitee

        at the PREMISES.
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             6.      On or about February 11, 2020, while lawfully on the PREMISES, Plaintiff,

     ALEATHER ADAMS, encountered the dangerous and hazardous condition of a foreign substance

     on the floor which caused Plaintiff to fall violently to the floor.

             7.      Defendant had actual knowledge of the dangerous condition; or if Defendant

     lacked such actual knowledge, this dangerous condition existed for such a length of time that, in

     the exercise of ordinary care, the Defendant, WALMART, should have known of the condition;

     or in the alternative, the condition occurred with regularity and was therefore foreseeable.

            8.       Venue is proper as the cause of action accrued in Palm Beach County, Florida.

                                       COUNT I
                      NEGLIGENCE AGAINST WAL-MART STORES EAST LP

             Plaintiffs, ALEATHER ADAMS, and JAMES ALLEN, re-aver and re-allege every

     allegation contained in the General Allegations paragraphs one (I) through eight (8) of this

     Complaint and further allege:

            8.       On February II, 2020, and at all times material hereto, the Defendant, WALMART,

     owed a duty to the Plaintiff to keep the PREMISES in a reasonably safe condition and owed a duty

     to warn the Plaintiff and others of the existence of dangers and hazards it knew or should have

     known existed on the PREMISES.

            9.       Said duty was breached by Defendant, WALMART, their servants and/or

     employees by:

                     a)     Creating the dangerous condition on the premises;

                     b)     Failing to correct the dangerous condition on the premises;

                     c)     Failing to adequately conduct inspections to ensure that a dangerous,

                            hazardous and unsafe condition did not exist;




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                     d)       Failing to inspect the premises to determine that it was free from hazardous

                             and/or otherwise dangerous conditions;

                     e)      Failing to warn of the dangerous conditions on the PREMISES;

                     0       Letting the dangerous condition exist on the premises for such a length of

                             time that the Defendant knew or through the exercise of reasonable care

                             should have known of its existence; and

                             Failing to periodically and properly check the floor so as to clean and

                             remove the foreign substance;

                     0       Otherwise negligently failing to prevent the incident.

             10.     The above described accident is one that would not, in the ordinary course of

     events, or have occurred without negligence on the part of the one in control of the PREMISES,

     i.e., Defendant, WALMART.

             11.     As a direct and proximate result of the negligence of Defendant, WALMART,

     Plaintiff, ALEATHER ADAMS, suffered bodily injury and resulting pain and suffering, disability,

     disfigurement, scarring, mental anguish, loss of capacity for the enjoyment of life, expense of

     hospitalization, medical and nursing care and treatment, loss of earnings, loss of ability to earn

     money, and aggravation of previously existing conditions. These losses are permanent or

     continuing in nature and Plaintiff will suffer such losses in the future.

             WHEREFORE Plaintiff, ALEATHER ADAMS, demands judgment for monetary

     damages against Defendant, WAL-MART STORES EAST LP, together with costs, interest and

     for such other and further relief as this Court may deem just and proper and further demands trial

     by jury as to all issues so triable as a matter of right.




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                                       COUNT II
                      CONSORTIUM CLAIM OF PLAINTIFF, JAMES ALLEN,
                           AGAINST WAL-MART EAST STORES, LP

             Plaintiff, JAMES ALLEN, realleges every allegation contained in the allegations one (1)

     through eleven (11) and further alleges:

             12.     Plaintiffs, JAMES ALLEN, and ALEATHER ADAMS, were and are Husband and

     Wife and have been continuously married through and including the date of the filing of this

     Complaint including on the date of the involved accident. As a result of Defendant's negligence,

     Plaintiff's spouse, JAMES ALLEN, suffered the loss of his wife's services, companionship, and

     consortium and will continue to suffer such losses for an indefinite time into the future.

             WHEREFORE, Plaintiff, JAMES ALLEN, demands judgment against Defendant, WAL-

     MART STORES EAST, LP, for compensatory damages, together with interest and costs, and

     demands trial by jury on all issues triable as a matter of right by jury.

            DATED this 24TH day of October, 2020.

                                                    THE SCHILLER KESSLER GROUP, PLC
                                                    Attorneys for Plaintiff
                                                    7501 West Oakland Park Boulevard
                                                    Fort Lauderdale, FL 33319
                                                    Telephone: (954) 933-3000
                                                    Facsimile: (954) 358-1591
                                                    Email: efileAinjuredinflorida.com

                                                    By:          s/         Weliale/A, C rtz&e
                                                             Sara B. Schafer, Esquire
                                                             Florida Bar Number: 84455




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